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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

In re:                             §
                                   §
JAMES DONDERO,                     §
                                   §
    Appellant.                     §
                                   §
v.                                 §
                                   §                                  Case No. 3:21-cv-01590-N
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                   §
    Appellee.                      §

                   ORDER GRANTING APPELLANT’S UNOPPOSED
                   MOTION TO SUPPLEMENT RECORD ON APPEAL

         On this date, the Court considered the Unopposed Motion to Supplement the Record on

Appeal (the “Motion”) filed by Appellant James Dondero (“Appellant”). Upon consideration of

the Motion, and the fact that Appellee is unopposed to the relief requested in the Motion, the Court

finds that the Motion is well taken and should be granted. Accordingly, the Court finds that just

cause exists for entry of the following order. It is therefore ORDERED as follows:

         1.    The Motion is GRANTED as set forth herein.

         2.    Appellant is authorized to file a supplemental designation of items to be included

in the record on appeal to cure the deficiency in the record.

         3.    The clerk of the bankruptcy court is authorized and directed to promptly transmit

the supplemental record on appeal to this Court.

         4.    Pursuant to Rule 8018 of the Federal Rules of Bankruptcy Procedure, the

Appellant’s opening brief shall be due within thirty (30) days after the docketing of notice that the

supplemental record has been transmitted or is available electronically.




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       SIGNED August 24, 2021.


                                                  ______________________________________
                                                  DAVID C. GODBEY
                                                  UNITED STATES DISTRICT JUDGE




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